68 F.3d 1246
    David M. SPAIN, Petitioner,v.Louis PODREBARAC, Haskell County Attorney, Carl Osbon,Haskell County Sheriff, Carla Stovall, KansasAttorney General, and the State ofKansas, Respondents.
    No. 95-3319.
    United States Court of Appeals,Tenth Circuit.
    Oct. 18, 1995.
    
      David J. Gottlieb, University of Kansas School of Law, Kansas Defender Project, Lawrence, KS, Ronald E. Wurtz, Capital Defense Coordinator, Topeka, KS, for petitioner.
      Patrick W. Peters, Office of the Attorney General, Topeka, KS, for respondents.
      ORDER
      BRISCOE, Circuit Judge.
    
    
      1
      Carla J. Stovall, the Attorney General for the State of Kansas, moves to dismiss David Spain's petition for writ of habeas corpus or, in the alternative, for emergency stay of proceedings.  Stovall's motion is an emergency application under 10th Cir.R. 8.2.  She presents her application to a single judge pursuant to 10th Cir.R. 8.3.  She provides no basis for an emergency motion to dismiss.
    
    
      2
      Spain currently is held in Colorado on Colorado charges.  He faces charges in Kansas arising out of the shooting of a Haskell County prison guard.  The instant dispute stems from the decision of a Haskell County District Court Judge to appoint a public defender to represent Spain, even though Spain has not appeared.  Following the appointment, Stovall petitioned the Kansas Supreme Court for writ of quo warranto.  The Kansas Supreme Court granted the writ and vacated the appointment of the public defender.  Spain petitioned the United States District Court for the District of Kansas to appoint counsel to represent him in a habeas action.  The district court granted the petition.  Spain moved to stay the Kansas Supreme Court's order vacating the original appointment.  He subsequently petitioned for writ of habeas corpus.  The district court granted his motion for stay, ordering that "the stay will remain in effect pending the review of petitioner's request for habeas corpus relief and until further order of the court."   The order does not stay the underlying criminal proceedings.
    
    
      3
      Stovall argues an emergency stay must be granted because the Haskell County District Court has scheduled a motions hearing on October 13, 1995.  She argues generally that unless the district court's order is stayed, "the State of Kansas will be compelled to litigate against counsel appointed in violation of state law based upon the unprecedented intrusion of a federal judge into an ongoing state prosecution."
    
    
      4
      To obtain a stay pending appeal, 10th Cir.R. 8.1 requires an applicant to address the following four factors:  (1) the likelihood of success on appeal;  (2) the threat of irreparable harm if the stay is not granted;  (3) the absence of harm to opposing parties if the stay is granted;  and (4) any risk of harm to the public interest.  Stovall argues she is likely to succeed on the merits, irreparable injury is imminent unless relief is granted, Spain will suffer no harm from the requested relief, and the public interest favors emergency relief.  Of the four factors, she argues most strenuously that she will prevail on the merits because of our ruling in Dolack v. Allenbrand, 548 F.2d 891 (10th Cir.1977).  Allenbrand is factually distinguishable.  As to the second factor, she shows no injury that fairly may be characterized as irreparable.  Indeed, after a careful review of the four factors, none clearly weigh in her favor.  The court concludes, therefore, that Stovall's showing is insufficient.
    
    
      5
      The motion is DENIED.
    
    